
In re Wright, Hilton; — Plaintiffs); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “G”, No. 268-605.
Granted. The amended sentence is vacated, and the district court is ordered to resen-tence the relator in open court. To the extent that resentencing will take place before the same judge who imposed relator’s original sentence, the court need not conduct an evidentiary hearing but should determine for the record its original sentencing intent and resentence the relator in accord with the considerations set forth in State v. Desdunes, 579 So.2d 452 (La.1991); State v. Washington, 578 So.2d 1150 (La.1991); State ex rel. Jackson v. Smith, 578 So.2d 1150 (La.1991).
HALL, J., not on panel.
